          Case 3:16-cv-00885-AVC Document 54 Filed 01/12/17 Page 1 of 5
                                                  	  


                         UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSTIY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



                                     MOTION TO STRIKE

        Now comes the plaintiff in the above-captioned case and requests that this Court strike

ECF No. 53, exclusive of pages 14-20, Section IV(A)(1) (bifurcation argument). As reasons

therefore, plaintiff states:

     1. On October 31, 2016, plaintiff filed a Motion for Preliminary Injunction. (ECF No. 31.)

        Defendants’ opposition was due on November 21, 2016. (See id.)

     2. On November 21, 2016, Defendants filed a Motion to Bifurate Consideration of

        Plaintiff’s Motion for Preliminary Injunction (ECF No. 34); a Memorandum in Support

        of the Motion to Bifurcate (ECF No. 35); and a 31-page Memorandum in Opposition to

        Plaintiff’s Motion for Preliminary Injunction (ECF No. 36). In their memorandum,

        defendants argued only that plaintiff had failed to show irreparable harm; they

        affirmatively elected to omit any argument on the remaining elements (likelihood of

        success on the merits; balancing of hardships; and public interest). (See id.)

     3. Per the Federal Rules, plaintiff was entitled to file an opposition to Defendants’ Motion

        to Bifurcate, which was due on December 12, 2016 (see L.R. 7(a)(1)), and a reply to
            Case 3:16-cv-00885-AVC Document 54 Filed 01/12/17 Page 2 of 5
                                                     	  


          Defendants’ Opposition to Plaintiff’s Motion for Preliminary Injunction, which was due

          on December 5, 2016 (see L.R. 7(d)(1)).

       4. With defendants’ consent, plaintiff moved to consolidate those two pleadings and file

          them together on December 12, 2016. (ECF No. 38.) The Court granted the motion to

          consolidate. (ECF No. 39.)

       5. On December 12, plaintiff filed his Consolidated Opposition to Defendants’ Motion to

          Bifurcate and Reply to Defendants’ Opposition to Motion for Preliminary Injunction.

          (ECF No. 40.) In the consolidated motion, and consistent with the Federal Rules, plaintiff

          made arguments opposing defendants’ Motion to Bifurcate, and replied to the only

          argument defendants raised in their Opposition to Plaintiff’s Motion for Preliminary

          Injunction: plaintiff’s proof of irreparable harm. (See id.) Plaintiff also made clear his

          position that defendants, having elected to forego argument on the other preliminary

          injunction elements, waived their right to make such an argument. (See id. at pp. 2, 19.)

       6. Per the Federal Rules, defendants were entitled to a 10-page reply to plaintiff’s

          Opposition to their Motion to Bifurcate. (See L.R. 7(d).) As noted in plaintiff’s

          Consolidated Motion, plaintiff’s position is that defendants did not have any right to file

          another opposition to plaintiff’s Motion for Preliminary Injunction (see ECF No. 40, p.

          2), and they certainly did not have that right without leave of this Court. (See L.R. 7(a)(1)

          (“Unless otherwise ordered by the Court, all memoranda in opposition to any

          motion shall be filed within twenty-one (21) days of the filing of the motion”).)

       7. Defendants’ 10-page reply was due on December 26, 2016. (See id.) At the request of

          defendants’ counsel, and because of the holidays and defense counsel’s schedule,

          plaintiff agreed to give defendants until January 12, 2017, to file their reply.


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             Case 3:16-cv-00885-AVC Document 54 Filed 01/12/17 Page 3 of 5
                                                      	  


       8. On January 10, 2017, defendants’ counsel asked for plaintiff’s counsel’s consent to file

          excess pages in connection with their upcoming reply. The only thing to which plaintiff

          consented was defendants’ request to file a motion seeking an unspecified number of

          excess pages. Plaintiff did not know that defendants planned to file a 48-page brief, nor

          did he know that the brief would be a second opposition to plaintiff’s Motion for

          Preliminary Injunction.

       9. Plaintiff thus moves to strike defendants’ 48-page Memorandum of Law in Opposition to

          Plaintiff’s Motion for Preliminary Injunction (ECF No. 53), except insofar as it is a reply

          to plaintiff’s Opposition to Motion to Bifurcate (see pp. 14-20).

       10. As set forth above, pursuant to the rules, defendants were entitled only to a reply to

          plaintiff’s Opposition to Motion to Bifurcate, and that reply had to be “strictly confined

          to a discussion of matters raised by the responsive brief[.]” (L.R. 7(d).) Defendants

          are not entitled to “two bites at the apple.” The memorandum defendants have filed

          addresses substantive arguments plaintiff made, in October, in his Motion for Preliminary

          Injunction – these issues should have been addressed in defendants’ November 21, 2016

          Opposition to Plaintiff’s Motion for Preliminary Injunction, but defendants instead

          elected to ignore them in favor of a litigation strategy urging bifurcation and

          consideration only of irreparable harm.

       11. Now, defendants ask the Court to consider this second opposition, as well as their

          cleverly titled “opening” opposition, which together comprise more than seventy pages

          of memoranda in opposition. Defendants’ filing of this 40-plus page tome on issues that

          could have, and should have, been addressed nearly two months ago is a clear violation

          of the rules and is highly prejudicial to the plaintiff. (See L.R. 7(a)(1).) This is


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            Case 3:16-cv-00885-AVC Document 54 Filed 01/12/17 Page 4 of 5
                                                     	  


          particularly so given the context in which the parties are operating, that is, a motion for

          preliminary injunction, in which the plaintiff is seeking immediate action from the Court.

       12. Consequently, ECF No. 53 should be struck except insofar as it constitutes a reply to

          plaintiff’s Opposition to Motion to Bifurcate (see ECF No. 53, pp. 14-20).

       WHEREFORE, for the reasons set forth above, plaintiff requests that this Court grant his

       motion to strike ECF No. 53, exclusive of pages 14-20.



                                                 JACK MONTAGUE,

                                                 By his attorneys,

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Dated: January 12, 2017




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             Case 3:16-cv-00885-AVC Document 54 Filed 01/12/17 Page 5 of 5
                                                      	  


                                   CERTIFICATE OF SERVICE

       I, Max D. Stern, hereby certify that this document filed through the ECF system will be sent
         electronically to the registered participants as identified on the Notice of Electronic Filing
                                          (NEF) on January 12, 2017.

                                                     /s/ Max D. Stern

	  




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